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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 TEXAS ASSOCIATION FOR MONEY
 SERVICES BUSINESSES (TAMSB); HIGH
 VALUE, INC.; REYNOSA CASA DE
 CAMBIO, INC.; NYDIA REGALADO d/b/a
 BEST RATE EXCHANGE; MARIO
 REGALADO          d/b/a     BORDER                   Civil Case No. 5:25-cv-00344-FB
 INTERNATIONAL SERVICES; LAREDO
 INSURANCE SERVICES, LLC; E.MEX.
 FINANCIAL SERVICES, INC.; R & C, INC.
 d/b/a TEMEX MONEY EXCHANGE; SAN
 ISIDRO MULTI SERVICES, INC.; CRIS
 WIN INC. d/b/a BROWNSVILLE CASA DE
 CAMBIO; ESPRO INVESTMENT LLC
 d/b/a LONESTAR MONEY EXCHANGE;
 and ARNOLDO GONZALEZ, Jr.,

        Plaintiffs,

 v.

 PAM BONDI, ATTORNEY GENERAL OF
 THE UNITED STATES; SCOTT BESSENT,
 SECRETARY OF THE TREASURY;
 UNITED STATES DEPARTMENT OF THE
 TREASURY;     ANDREA       GACKI,
 DIRECTOR OF THE FINANCIAL CRIMES
 ENFORCEMENT      NETWORK;     and
 FINANCIAL CRIMES ENFORCEMENT
 NETWORK,

        Defendants.


                        PLAINTIFFS’ OPPOSED MOTION
                TO EXTEND THE TEMPORARY RESTRAINING ORDER
                        AND SET A BREIFING SCHEDULE


       Plaintiffs respectfully move this Court under Rule 65(b)(2) of the Federal Rules of Civil

Procedure to extend the Temporary Restraining Order (“TRO”) an additional 14 days, to May 9,

2025, and to set a briefing schedule for Plaintiffs’ Motion for a Preliminary Injunction that would


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allow for resolution of the motion before the expiration of the TRO. Contingent on the Court’s

extension of the TRO—as well on as the Court’s determination that the proposed briefing schedule

would allow for resolution of the preliminary injunction motion prior to expiration of the extended

TRO—Plaintiffs propose the following briefing schedule, which the government has stated it is

“amenable” to:

               April 18: Plaintiffs to file amended complaint and PI motion

               April 25: Defendants to file response to PI motion and administrative record

               April 28: Parties to disclose witnesses by noon (central)

               April 28: Plaintiffs to file reply by end of the day

               April 29-May 2: Dates for hearing depending on Court’s availability

Plaintiffs note that they stand ready to proceed under any schedule that the Court deems necessary

to ensure the TRO does not expire without a preliminary injunction in place.

       Notwithstanding the parties’ general agreement on the proposed briefing schedule, the

parties cannot agree on an extension of the TRO. Accordingly, when counsel for the Plaintiffs

conferred with counsel for Defendants pursuant to Local Rule 7(g), counsel for Defendants stated

that they oppose the motion and will file a short opposition quickly.

                                         BACKGROUND

       This case concerns a Geographic Targeting Order (“GTO”) that requires certain businesses

operating in thirty zip codes (located within seven counties) along the southwest border to report

cash transactions over just $200 to the federal government. See Issuance of a Geographic

Targeting Order Imposing Additional Recordkeeping and Reporting Requirements on Certain

Money Services Businesses Along the Southwest Border, 90 Fed. Reg. 12106 (Mar. 14, 2025). On

April 9, 2025, with the GTO set to go into effect on April 14, Plaintiff Texas Association of Money




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Services Businesses (“TAMSB”) sought a temporary restraining order to prevent serious and

impending harm to its members’ businesses. See Dkt. No. 5. On April 11, 2025, following a

hearing, the Court entered a temporary restraining order. See Dkt. No. 13. The TRO directs that

Defendants are restrained from implementing or enforcing the GTO with respect to the ten current

members of TAMSB. Dkt. No. 13. The TRO further directs that the parties “confer and file a

proposed briefing schedule in anticipation of a preliminary injunction hearing to be held forty-five

to sixty days from the date” of the TRO. Id. By its terms, the TRO expires on April 25, 2025.

       Counsel for Plaintiffs and the government have conferred about a proposed briefing

schedule, as well as an extension of the TRO. See Exhibit A (correspondence between counsel).

During this discussion, counsel for the government initially proposed a briefing schedule that is

largely similar to the one proposed in this motion. Id. at 8. Counsel for Plaintiffs proposed some

modifications, id. at 6-7, and the government’s counsel responded that she was “amenable” to

Plaintiffs’ proposed schedule, id. at 5. The parties discussed that this proposed schedule would

allow for the parties to present a fully-briefed motion for a preliminary injunction for the Court’s

resolution before the expiration of the TRO if the TRO were extended by the Court for a 14-day

period as contemplated by Rule 65(b)(2). Id. at 4-6. Counsel for the government stated the

government would consider consenting to a single 14-day extension of the TRO, but, late on April

17, informed Plaintiffs that consent would not be forthcoming. Id. at 1.

       In line with the proposed schedule, Plaintiffs filed their amended complaint on April 18

and intend to file their motion for a preliminary injunction later this same day. Also this same

day—and just one day after the government definitively indicated that it would not consent to an

extension of the TRO—Plaintiffs are moving by the instant motion to extend the TRO and set the

briefing schedule that has otherwise been agreed.




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                                         ARGUMENT

I.     Good Cause Exists To Extend The TRO For An Additional 14 Days.

       Pursuant to Federal Rule of Civil Procedure 65(b)(2), a TRO “expires at the time after

entry—not to exceed 14 days—that the court sets, unless before that time the court, for good cause,

extends it for a like period or the adverse party consents to a longer extension.” See also Nat’l

Ass’n for Gun Rights, Inc. v. Garland, No. 4:23-CV-00830-O, 2023 WL 5610293, at *12 (N.D.

Tex. Aug. 30, 2023) (“The Federal Rules of Civil Procedure provide the option to extend a TRO

an additional fourteen days for good cause shown.”). Good cause exists to extend the TRO in this

case for a “like period” of 14 days in order to allow for briefing and resolution of a motion for a

preliminary injunction.

       Courts find that “good cause” exists to extend a TRO to allow for briefing and

consideration of a motion for a preliminary injunction. See Nat’l Ass’n for Gun Rights, 2023 WL

5610293, at *13 (finding good cause to extend TRO by 14 days so that it will remain in place

“until such time that the Court can rule on [plaintiffs’] imminent preliminary injunction motion”);

Jani-King of Miami, Inc. v. Leicht, No. 3:23-CV-0389-B, 2023 WL 2335658, at *4 (N.D. Tex.

Mar. 2, 2023) (finding good cause to extend TRO where the “preliminary injunction [had] not been

fully briefed” in order “to provide time to fully consider the various arguments and motions of the

parties” (marks and citation omitted)); Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No.

CV 25-239 (LLA), 2025 WL 597959, at *4 (D.D.C. Feb. 25, 2025) (noting that the court had

“extended the TRO for good cause until it could resolve Plaintiffs’ forthcoming preliminary

injunction motion”). Likewise, here, an extension is appropriate in order to ensure that the TRO

will remain in place before a preliminary injunction motion can be fully briefed and then decided

by the Court.




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       Extension would be particularly appropriate here, where the proposed briefing schedule is

designed in part to facilitate the government’s production of a record to support the challenged

agency action. See Tr. of Hearing on TRO (Dkt. 14) at 85:24-86:9 (statement by government

counsel that “what I’d like to do is make sure we have time to pull [the administrative record]

together”). When government counsel reached out to suggest a briefing schedule, she suggested

that the administrative record be filed on April 25—as in the schedule proposed here. See Exhibit

A at 8. In other words, absent an extension of the TRO, it appears that the government is not able

to prepare the administrative record for the Court’s consideration until the date the TRO is set to

expire. Given that the government has expressly suggested that the administrative record is

necessary to decide a motion for a preliminary injunction, and that the government cannot prepare

the administrative record in time for the Court to consider it absent an extension, the Court should

hold that “good cause” exists to issue an extension.

II.    The Court Should Issue A Briefing Schedule That Will Allow For A Decision On A
       Preliminary Injunction Motion Before The TRO Expires.

       The purpose of a TRO is to preserve the status quo until a court can rule on a motion for a

preliminary injunction. See Nat’l Ass’n for Gun Rights, 2023 WL 5610293, at *12 (noting, in

extending TRO, that a court “possesses inherent powers of equity sufficient to enable it to preserve

the status quo” (marks and citation omitted)). With that in mind, Plaintiffs respectfully ask that the

Court issue a briefing schedule that will allow the Court to fully resolve a motion for a preliminary

injunction before the TRO has expired.

       If the TRO is extended for fourteen days, Plaintiffs believe that the briefing schedule that

is proposed in this motion (and that has been otherwise agreed upon by the parties) will allow for

resolution of a motion for a preliminary injunction before the TRO expires. Plaintiffs, however,

note that they stand ready to proceed under any briefing schedule that the Court deems necessary



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to facilitate resolution of a preliminary injunction motion within the timelines contemplated by

Rule 65(b)(2).

 Dated: April 18, 2025                                Respectfully submitted,

                                                      /s/ Christen Mason Hebert
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                                   CERTIFICATE OF SERVICE

          I certify that on April 18, 2025, I electronically filed the foregoing document with the Clerk

of Court using the CM/ECF system, which will provide electronic service upon all attorneys of

record.

                                                 /s/ Christen Mason Hebert
                                                 Christen Mason Hebert (TX Bar No. 24099898)




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